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1 IN THE UNITED STATES DISTRICT COURT
2 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
3 SOUTHERN DIVISION
4
5
6 ALLEN DOUGLAS HALE, III,
Plaintiff,
7
8 VERSUS CIVIL ACTION NO: 1:16-cv—113-—LG-RHW
9
CITY OF BILOXI, MISSISSIPPI;
10 KENNETH GARNER, Individually;
DARREN LEA, Individually; and
11 JOHN AND JANE DOES 2-10,
Individually,
12 Defendants.
13
14
15
16
DEPOSITION OF DARREN LEA
17
18 Taken at Biloxi Public Safety Building,
19 170 Porter Avenue, Biloxi, Mississippi,
20 on Wednesday, November 2, 2016, beginning at
21 9:15 a.m.
22
23 EXHIBIT
24 D ef
25

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Q. Were you employed as an officer in any
capacity before Biloxi?

A. Yes.

Q. And who was that with?

A. With the United States Coast Guard.

Q. And when were you serving with the Coast
Guard?
A. I've been serving with the Coast Guard

Since August 3lst, 1987, until present.

Q. Okay. So you're still with the Coast
Guard, as well?

A. Yes.

Q. In what capacity is that?

A. I'm a special agent with the Coast Guard
investigator service.

Q. And other than the Biloxi Police
Department, have you ever worked for any law
enforcement agency, local law enforcement agency?

A. No.

Q. What type of training did you receive
before you became employed with the City of
Biloxi?

A. Law enforcement training with the Coast
Guard, just basically general law enforcement

training, instructor for use of force, instructor

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first I've learned of that, so can you kind of
give me just a brief background on the type of
courses that you taught?

A, Just use of hand-to-hand type of -—- I
lost my train of thought there -- physical,
defensive tactics type stuff, use of impact
weapon, pepper spray or chemical weapons. And I
was not a firearms instructor, but I did train on
firearms, the use of deadly force as far as the
practicality of it, or when and when not to use
it. I was also a judgemental pistol instructor.

Q. A judgemental pistol instructor?

A Yes.

Q. What exactly is that?

A Officers or Coast Guardsmen at the time
would watch a video, and the video was somewhat
interactive. And you had to make the proper
choices on when to shoot and when not to shoot,

and I administered those courses.

Q. Did they have tasers available back in
'O7?

A. No.

Q. To the best of your recollection, when

did Biloxi Police Department issues tasers to its

officers?

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A. Roughly five years ago. I don't have
the exact date on that.

Q. SO approximately 2010-ish or '11?

A. Yes.

Q. And do you recall what you had to do to
be able to carry a taser when you were on duty?

A. I had to go through classroom training
on it, talked about the nomenclature, proper uses
of it, the physiological effects, the dangers, and
then completed a practical where we actually fired
the taser into a cardboard silhouette with
specific target areas; and then we also had to be
subjected to the taser so we would know what it
feels like.

Q. And what does it feel like?

A. Feels like somebody hitting you in the
back with a ball pein hammer a thousand times in
three seconds.

Q. You know, do you lose all motor
function?

A. I didn't.

Q. Is that the purported goal in using a
taser, is to basically have a suspect to where
he's not able to, you know, physically move,

basically?

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MR. GUNN: Object to the form.
BY MR. HOLDER:

Q. I'll rephrase that. Let me ask you this
first. How many times have you deployed your
taser?

A. I'm pretty sure it's three times, at
least when I've discharged it.

Q. And specifically I'm referring to

discharging at a suspect. So three times?

A. Yes.
Q. Do you recall —- obviously in the
instant case was one —- when the other two

incidents were?

A. The one prior to this one was probably a
month before, and then the other one was several
years ago.

Q. So they were both prior to this
incident?

A. Yes.

Q. And you haven't deployed your taser ata
suspect since April lst, 2015?

A. No.

Q. What all positions have you held with
the Biloxi Police Department?

A. Patrolman, went up through the ranks all

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Oo O HI WD OO BP W NYO HF

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OB WH FO oO © UN WD oO WB WY HF OO

and purposes, the taser is on at that point in

time?
A. And the camera.
Q. And it takes a little time to warm up?
A, No.
Q. No? So as soon as you pull the trigger,

it will discharge the taser bars?

A. I'm not sure I understand. As soon as
you turn the taser on, the camera comes on, and
then you have to physically pull the trigger for
the trigger ~- for it to discharge.

Q. Okay. And when does the camera stop
recording? Is it when you turn the taser off?

A. I'm not 100 percent on that, but that
would be my thought.

Q. Have you ever viewed the taser videos of
your previous?

A. Yes.

Q. Okay. And, you know, were those about
the same length as the one here, or do you recall?

A. No.

Q. How did you first come to learn of the
arrest warrant for Mr. Hale?

A. Dispatch said that we had some

information about Mr. Hale being up at this

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MN NH NO NY NY YB FP BBP BE BB BE BE
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trailer park —- or this RV park. All of my north
units were very busy at the time, so we didn't
have anybody to go over there to follow up with
it. I was on another call, another felony call;
and about the time that cleared up, I started
heading up that direction. If I ain't mistaken,
sergeant Garner was also en route, and one of our
captains was heading that way.

As soon as I said I was heading that
way, the captain dropped off. And then as I was
coming from this side of town to the north side of
town, one of the units from the north -- that
would have been Officer McKeithen -- he also
joined up with us.

Q. Did y'all meet somewhere prior to going
to the RV park?

A. Yes, we met at the commercial tire shop
right there at Interstate 10 and Shriners
Boulevard. Sergeant Garner had his mobile data
terminal there. We looked at a photograph of
Mr. Hale, and we had some preplanning-type issues
that we wanted to go over. And we kind of had the
inkling that the initial address that the
dispatcher had given us was not going to be the

right address. Sergeant Garner believed that that

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"L" to represent himself.
BY MR. HOLDER:

Q. From what direction did y'all approach?
Would that be the front door of the trailer?

A. I think so. That looks like the RV.

Q. RV. And from what direction did y'all
approach the RV?

A. Draw it on there?

Q. Yeah, you can draw it.

MR. GUNN: Draw where the cars are?
BY MR. HOLDER:

Q. You can just do a dotted line or
something, if you want to, or a line with an
arrow.

A. I'm not sure where McKeithen was. It's
not to scale. And that's Garner, and we
approached this way.

Q. And when is the first time that you made
contact with Mr. Hale? And when I say "contact,"
the first time you made a visual observation.

A. From right here at the front of this
car, I could see him sitting here. I'd looked
through the front window, and I could see him
Sitting there; and that was the same person I saw

in the picture that I had just looked at.

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MR. HOLDER: Correct.
A. I think Sergeant Garner did.
BY MR. HOLDER:
Q. I believe you had mentioned earlier that
previous to this incident that night, that you

were serving another felony warrant; is that

right?

A. Yes -—- not a warrant. It was a felony
arrest.

Q. Do you recall what that was for?

A. Narcotics.

Q. Did y'all effectuate the arrest?

A. Yes.

Q. Did the suspect in that case try to run

or anything like that?

A. No.

Q. Was there any use of force in that case?
A. No.

Q. I'm going to hand you what's marked as

Exhibit 4. It's policies and procedures on arrest
procedures.
MR. CLARK: Can we get a copy of what
he's marked up?
MR. GUNN: Yeah, it's going to be
attached.

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Q. Did anybody have the warrant with them?

A. No.

Q. In Paragraph 3, can you read that for
me?

A. Verbally advise suspect they are under
arrest so a reasonable suspect will know that
they're under arrest and not free to leave.

Q. And isn't it true that Mr. Hale was
never notified he was under arrest?

MR. GUNN: Object to the form. You can
answer.

A. I do not recall if we actually -- if
anybody actually told him he was under arrest; but
it was clear that we wanted him to come to us, but
he would not comply.

BY MR. HOLDER:

Q. Okay. Did you ever tell him he was
under arrest?

A. No.

Q. Did you ever tell him that you had a
warrant for his arrest?

A. No.

Q. Did Garner ever tell him that he had a
warrant for his arrest?

A. I don't know.

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OO PB WH F OO ON D UO B® WHY F OO

A. Yes.

Q. How?

A. By his movements, not following task
direction.

Q. But he's not informed that he's under

arrest; right?

A. No.

Q. And he's in his own home?

A. Yes.

Q. So what lawful order or what authority
did you have to —-- for him to be compliant with
anything?

MR. GUNN: Object to the form.
A. The arrest warrant.

BY MR. HOLDER:

Q. Which he was not informed of?
A. Not necessary.
Q. It's not necessary to inform him of that

despite the fact that the procedures tell you
that?

A. He would be told that as soon was we got
him in handcuffs, when it was safe for everybody
at the scene.

Q. Was there a reason why you didn't just

put him in handcuffs?

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A. Well, that's what we were attempting to
do.
Q. Did he ever curse?
A. I don't recall.
Did he ever yell at you?
MR. GUNN: Object to the form.
MR. HOLDER: I don't know how else to
ask that question.
A. His voice was raised a little bit.
BY MR. HOLDER:
Q. Was this before or after he got shot?
A. Before.
Q. Would you agree that the minimum force
necessary is required when effectuating an arrest?
A. Yes.
Q. At one point in time, I think you said

that you had your firearm drawn; is that right?

A. Yes.

Q. Do you remember when you holstered your
firearm?

A. Mr. Hale made a very sudden movement
with his hands out of our sight -- out of my

Sight, anyway, and when he came back, he had a
cigarette —-— he had a pack of cigarettes. I had

my gun pointed at him, prepared to use deadly

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force if necessary. It was not a weapon. I think
Sergeant Garner said something to the effect, hey,
that's how people get shot. He said, I'm just
getting my cigarettes.

And then I transitioned to my taser. I
holstered my gun, got my taser out, and told him,
if you do that again, I'm going to tase you.

Q. Okay. So you holstered your weapon
because you didn't fear that you were in danger of
serious bodily harm?

MR. GUNN: Object to the form.

A. No. I wanted a secondary option based
on the fluidity of the circumstance.

BY MR. HOLDER:

Q. Is there any reason why you just didn't
tase him then?

A. As soon as I pulled my taser out, it
pretty much happened. It was very quick. I
didn't have a taser out initially.

Q. Did either one of y'all -- for
clarification, Officer Garner or yourself or
Officer McKeithen -- when y'all instructed
Mr. Hale to come outside, tell him why you wanted
him to come outside?

A. I don't think. I don't recall

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1 specifically, no.

2 Q. Is there any indication that y'all just
3 wanted to talk to him or had some questions?

4 A. Yes.

5 QO Y'all said, we have some questions for
6 you?

7 A. No.

8 Q. Okay. And I believe I've asked this,

9 but I'm going to ask it again, so sorry for the
10 redundancy if I have. Did you or Garner or

11 McKeithen ever ask him, are you Allen Douglas

12 Hale?
13 A. No, not that I'm aware of. I don't

14 recall it.

15 Q. Can you describe for me or define

16 "active resistance"? That's been the term that's
17 been utilized by I believe yourself and other

18 officers in describing Mr. Hale's behavior.

19 A. He was not following task direction even
20 though we had weapons, that be guns, tasers or
21 whatever, pointed at him. He refused.to follow
22 task direction even though we gave him

23 consequences.

24 Q. What's the difference between active
25 resistance and passive resistance?

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A. Not following -- physically not
complying; and passively not complying is, like,
passively somebody won't get up when we tell them
to. He was kind of in between a passive and an
active the way he was initially acting.

Q. So he wasn't all the way into full
active resistance?

A. He went there eventually.

Q. Okay. Well, this all happened really
quickly; right?

A. Yes.

Q. Okay. So at what point in time did he
pass the passive resistance continuing into the
active resistance realm?

A. The active resistance started when he
made that first reach, you know, with guns pointed
at him telling him to come here, making that
further reach —-- not further, but that sudden
reach out of our sight. That's when I feel that
my life was potentially in danger.

Q. Did you ever tell any of the
investigators that you thought your life was in
danger?

A. I don't recall.

QO. I mean, wouldn't that be something that

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would be the first thing you'd tell them, if you
felt like your life was in danger?
MR. ROS: Objection. Argumentative.

A. I react to what I see; and if I'm
reacting, it's based on trying to protect myself.
BY MR. HOLDER:

Q. Would you agree that you told the
investigator in an interview that you tased him
because he was being non-compliant and not because
you feared for your safety?

A. To me, that's kind of both. I was
trying to address the situation.

Q. Well, would you agree that you told him
that you tased him because he was non-compliant
and never mentioned that you feared for, you know,
your life or serious bodily harm?

A. Well, I certainly said that, that I
tased him for being non-compliant.

Q. And would you agree that in your
policies and procedures -- if you want to, you can
turn to Page 4 in Exhibit 4 there -- in
Paragraph 3, active resistance behavior, and it
gives examples, fighting, struggling, or
attempting to flee, so would that be accurate?

A, So you're just asking about Number 4?

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Q. Paragraph 3, when it's talking about
active resistance behavior and it provides kind of
a definition or examples of that type of behavior,
can you tell me what it says?

A. It says, if suspects demonstrate
active-resistant behavior such as fighting,
struggling, attempting to flee, officer may use
reasonable force to complete the arrest. However,
officers are reminded that the force used to
apprehend a suspect should be adjusted accordingly
after the arrestee has been subdued and/or
handcuffed.

Q. And did Mr. Hale ever attempt to fight?

A. Not directly, no.

Q. Did he ever tell you he was going to
fight?

A. No.

Q. Were y'all ever struggling? Was there a

physical struggle?
A. No.
Did he attempt to run?
No.
Or any other type of escape?

To me, he was evaluating his options.

CO Pp OP

He wasn't just getting a cigarette?

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A. No.
Q. He told you he was going to get a
cigarette; right?
A. Yes.
Q. And that's exactly what he did, didn't
he?
MR. ROS: Object to the form of the

question. It's argumentative and leaving out

MR. GUNN: Just ask questions.
MR. HOLDER: I am asking a question.
MR. GUNN: That wasn't a question. That
wasn't a question.
MR. HOLDER: It was a question.
MR. GUNN: No, it was not. It was not a
question. That's an argumentative statement.
Ask him a question.
MR. HOLDER: Don't talk to me like that.
BY MR. HOLDER:
Q. Did Mr. Hale tell you that he was going
to get cigarettes or getting a cigarette?
MR. GUNN: Thank you.
A. After he grabbed the initial pack of
cigarettes.

BY MR. HOLDER:

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Q. And did he grab a cigarette?

A. I don't know.

Q. You don't remember if he had a
cigarette?

A. I don't know.

Q. What exactly were you looking at when
this was going on?

A. Him not following hard task.

Q. Did you ever see a cigarette in his

mouth or left hand?

A. No.

Q. So you weren't looking at his left hand?
A. I was looking for weapons.

Q. Did you ever see a bulge in his pocket?
A. No.

Q. When you tased him, you know, what was

he doing? At the instant you pulled the trigger
or deployed your taser, what was he doing?
A. Reaching down towards his waistband.

Q. He didn't put his hand in his right

pocket?
A. I just saw him reaching towards his
waistband.
Q. You watched the video, you said; right?
A. Yes.

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Q. And wouldn't you agree that it's pretty
clear that he had his hand in his right pocket?

A. I don't recall that part. I just
saw -- I reacted to tasing because he made that
movement down real fast.

Q. When you say "real fast," I mean, can
you describe that for me?

A. It looked like a very quick movement
towards his waistband in order to go after a
weapon, and that's when I felt like my life was in
danger.

Q. And did he tell you that he was going to
get a lighter?

I don't recall.
You don't remember that, either?

No.

Oo F OO Pp

Would that have made any difference to
you?

No.

How far away was he?

Probably four, five feet.

How far does that taser shoot?

Twenty-five feet.

oP OP Oo >

Okay. So this isn't going to be real

clear for the record, but I'm just trying to get a

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MN NH NY HY NY NY HB BBP BP BP Be eB BP BP BE
oO 8B WHY FP OO © HY D UV WK W YS FE OO

inform every suspect that they're under arrest, do
you check yes, or do you check no?

A. Well, I check yes. And this is the way
this happens. If I have a warrant for your
arrest, I walk up to you; I take control of you
and tell you you're under arrest. I don't come up
there and say, sir, you're under arrest, and give
you an opportunity to resist. I take control of
you first. It's all a fluent motion.

Q. By "take control," you would handcuff
me?

A. I would take control of you physically
and then handcuff you so I can get my hands on you
so that I don't have to chase you down or
something to that effect. So, yes, everything you
say is correct, but it's kind of a fluent,

all-in-one motion situation.

Q. Did you have a body camera on that
evening?

A. I did.

Q. Was it turned on?

A. No.

Q. Do you remember if you turned it on

after the incident?

A. I did.

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Q. If you closed your eyes and deployed
your taser, would you know exactly what it was?

A. Yeah.

Q. And during your taser training, do they
instruct you to give any type of advance notice

prior to discharging or deploying your taser?

A. Yes.
Q. Can you describe that for me?
A. You're supposed to give the suspect

advance warning, you know, of the consequences; if
they don't comply, we're going to tase you. If
you decide to tase, you give a warning, "taser
taser, taser," to let everybody know.

Q. And did you give that warning here?

A. I did not have an opportunity to.

Q. Do you know if he was tased first or
shot first?

A. It was pretty much simultaneously, so I
don't know the exact.

Q. All right. Now, after he was tased and
shot, can you tell me what happened next? Were
you involved in removing Mr. Hale from the
trailer?

A. Sergeant Garner removed Mr. Hale and got

him on the ground and got him handcuffed, and then

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communicate. And I would have testified before I

saw the video that I said it, but I did not say

it.

Q. Have you ever been convicted of a
felony?

A. No.

Q. Misdemeanor?

A. No.

Q. Have you ever been suspended or placed

on probation by the Biloxi Police Department?

A. Probation, but that's all for minor
crashes.
Q. Vehicle accident?

A Yes.

Q. Damaging City property?

A Yes.
MR. GUNN: Running over a pothole?
THE WITNESS: Yes.

BY MR. HOLDER:

Q. Any citizen complaints against you in
the last five years or so?

A. I'm sure there are. Not that I'm
specifically aware of. Some of them make it all
the way up. Some of them don't.

Q. Have you ever discharged your firearm at

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a suspect?

A. No.

Q. Did you have video on your patrol
vehicle?

A. No. It was a back-up unit. It was
non-operable. I said "non-operable." It was

non-existent. Excuse me.

Q. There was just no video in that car at
all?

A. Correct. It was an old Crown Vic,
back-up K~-9 unit.

QO. Your interview with Investigator Brown,
was that your first interview?

A. Yes.

Q. Do you recall exactly when that was?
Was it the next day?

A. Yes, next day. I don't want to give a
time on it, but it was early. I don't know what
time. Sorry.

QO. Had you ever seen Mr. Hale prior to
April ist, 2015?

A. No, not that I'm aware of.

Q. Have you seen him, that you're aware of,
subsequent to April ist, 2015?

A. No.

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